  1                                                          The Honorable Timothy W. Dore
                                                             Chapter 13
  2                                                          Hearing Location: telephonic
                                                             Hearing Date: 9/16/2020
  3                                                          Hearing Time: 9:30 AM
                                                             Response Date: 9/9/2020
  4

  5

  6

  7

  8                               UNITED STATES BANKRUPTCY COURT

  9                   WESTERN DISTRICT OF WASHINGTON - SEATTLE DIVISION

 10

 11   In Re:                                           )   Case No.: 20-10818-TWD
                                                       )
 12   Bradley Evan Drummond,                           )   CHAPTER 13
                                                       )
      Angela Marie Drummond,                           )
 13                                                    )   MOTION FOR RELIEF FROM THE
               Debtors.                                )   AUTOMATIC STAY
 14                                                    )
                                                       )
 15                                                    )
                                                       )
 16

 17
                COMES NOW, SN Servicing Corporation (“Loan Servicer”) as the servicer for
 18
      BCMB1 Trust, its successors and/or assignees (“Creditor”) and moves the Court pursuant to 11
 19
      USC §362(d) for Order Terminating the Automatic Stay, allowing Creditor to proceed with any
 20
      and all contractual and statutory remedies incident to the interest held by virtue of the note and
 21
      deed of trust described below and attached as exhibits to this motion and memorandum.
 22
                I.        RELEVANT FACTS
 23
                          A. The Property
 24
                On or about December 20, 2006, Bradley E. Drummond and Angela M. Drummond
 25
      executed a note in favor of Countrywide Home Loans, Inc. in the original principal amount of
 26
      $53,280.00 (“Note”). The debt described by the Note is secured by a deed of trust (“Deed of
 27
      Trust”) properly recorded and creating a lien against property commonly described as 23622
 28
      Motion for Relief– Page 1                                                   Ghidotti | Berger LLP
                                                                                  1920 Old Tustin Ave.
                                                                                  Santa Ana, CA 92705
                                                                                    Tele: 949-427-2010
Case 20-10818-TWD            Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57       Pg. 1 of 56
  1   SE 267th PL, Maple Valley, Washington 98038-5836 (the “Property”).

  2            Creditor is the holder of the Note and thus has standing to enforce the Note pursuant to

  3   RCW §62A.3-301. The Deed of Trust was pledged as incident to the Note and thus, as the

  4   holder of the Note, Creditor also has the right to enforce the Deed of Trust that follows the

  5   note.

  6            Subsequent to the execution of the Note and Deed of Trust, Debtors have filed for

  7   protection under Chapter 13 of Title 11 of the United States Code.

  8            Upon information and belief, no foreclosure sale is pending as of the date of this

  9   motion.
                         B. The Debt
 10
               As of the date of this motion, Debtors are contractually due for the February 1, 2018
 11
      payment. The approximate amount owed under the terms of the Note is $66,337.20. This is
 12
      an approximation of the lien, including principal balance plus accrued interest, late charges,
 13
      escrow shortages, and other fees and costs, as allowed under the terms of the Deed of Trust.
 14
      This estimate is accurate as of the date provided to counsel for the Creditor and is intended
 15
      only for the purposes of this motion. This amount cannot be relied upon for any other
 16
      purposes, including payoff of the secured debt. A complete, date specific and itemized payoff
 17
      figure may be obtained from Movant upon written request to counsel for Creditor.
 18
                         C. The Value of the Property
 19
               The value of the Property as represented by Debtors’ sworn Schedules is $495,072.00.
 20
                         D. The Post-Petition Default
 21
               Debtors have defaulted post-petition for payments due on or after April 1, 2020. As of
 22
      the date of this motion, the total post-petition default is itemized as follows:
 23
               04/01/2020-08/01/2020 @ $438.34                               $2,191.70
 24
               ARGUMENT AND AUTHORITY
 25
                         A. Standing
 26            To prosecute a motion for relief from the automatic stay as to enforcement of a note
 27   and deed, a movant must establish that it has an interest in the note, either as a holder, or as a
 28   party entitled to enforce the note. See In re Veal, 450 B.R. 897 (9th Cir. B.A.P. 2011). In the
      Motion for Relief– Page 2                                                    Ghidotti | Berger LLP
                                                                                   1920 Old Tustin Ave.
                                                                                   Santa Ana, CA 92705
                                                                                     Tele: 949-427-2010
Case 20-10818-TWD            Doc 28    Filed 08/24/20   Ent. 08/24/20 08:30:57       Pg. 2 of 56
  1   case as bar, the declaration and exhibits supporting the motion establish that Creditor is the

  2   holder of the Note and thus has standing to prosecute the motion.

  3                      B. Cause Exists to Grant Relief

  4            Movant submits that cause exists to grant relief under Section 362(d)(1). Bankruptcy

  5   Code Section 362(d)(1) provides that a party may seek relief from stay based upon “cause,”

  6   including lack of adequate protection. Adequate protection can be offered in the form of cash

  7   or periodic payments or the existence of a sufficient equity cushion.

  8            Movant submits that adequate protection in this case requires normal and periodic

  9   cash payments to Movant, as called for by the Note. The Borrower has fallen post-petition

 10   delinquent on mortgage payments to Movant. A continuing failure to maintain required

 11   regular payments has been held, in and of itself, to constitute sufficient cause for granting a

 12   motion to modify the stay. (In re Trident Corp., 19 BR 956,958 (Bankr. E.D. Pa. 1982), aff’d

 13   22 BR 491 (Bankr. E.D. Pa. 1982 (citing In re Hinkle, 14 BR 202, 204 (Bankr. E.D. Pa.

 14   1981); see also In re Jones, 189 BR 13, 15 (Bank. E.D. Okla 1995) (citing Hinkle, 14 B.R. at

 15   204)). The Borrower’s failure to tender regular ongoing monthly mortgage payments is

 16   sufficient cause to terminate the automatic stay.

 17            Movant alleges there is further cause for relief for Debtor’s failure to provide for

 18   Movant’s Secured total debt Proof of Claim. According to Loan Servicer and Movant’s

 19   records, the loan matures on January 1, 2022 and on May 22, 2020 a total debt Proof of Claim

 20   was filed in the amount of $64,835.35. However, Debtors’ filed Chapter 13 Plan omitted the

 21   claim and thus Movant’s total debt claim is not being paid through the confirmed Plan. As of

 22   the date of this motion, Debtors are contractually due for the February 1, 2018 payment. As

 23   such, Movant is entitled to relief from stay under 11 U.S.C. §362(d)(1), based upon the

 24   failure of Debtors to provide adequate protection to Movant.

 25

 26            II.       RELIEF REQUESTED

 27            For the reasons stated above, Creditor requests:

 28                      1. An Order Terminating the Automatic Stay;
      Motion for Relief– Page 3                                                 Ghidotti | Berger LLP
                                                                                1920 Old Tustin Ave.
                                                                                Santa Ana, CA 92705
                                                                                  Tele: 949-427-2010
Case 20-10818-TWD            Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57     Pg. 3 of 56
  1                      2. The fourteen day stay described in Bankruptcy Rule 4001(a)(3) be waived

  2                          upon relief;

  3                      3. Alternatively, for an Order requiring adequate protection of Movant’s

  4                          interest in the property.

  5                      4. For such other relief as the Court deems proper.

  6

  7
      Dated: August 24, 2020                     Respectfully Submitted,
  8
                                                 GHIDOTTI | BERGER LLP
  9

 10                                              /s/ Nancy Tragarz
                                                 Nancy Tragarz, Esq. WSBA #56153
 11                                              Counsel for BCMB1 Trust, its successors and/or
                                                 assignees
 12

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 28
      Motion for Relief– Page 4                                                    Ghidotti | Berger LLP
                                                                                   1920 Old Tustin Ave.
                                                                                   Santa Ana, CA 92705
                                                                                     Tele: 949-427-2010
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  1                                                               The Honorable Timothy W. Dore
                                                                  Chapter 13
  2                                                               Hearing Location: telephonic
                                                                  Hearing Date: 9/16/2020
  3                                                               Hearing Time: 9:30 AM
                                                                  Response Date: 9/9/2020
  4

  5

  6                                   UNITED STATES BANKRUPTCY COURT
  7                    WESTERN DISTRICT OF WASHINGTON - SEATTLE DIVISION
  8

  9   In Re:                                                )   Case No.: 20-10818-TWD
                                                            )
 10   Bradley Evan Drummond,                                )   CHAPTER 13
                                                            )
 11   Angela Marie Drummond,                                )
                                                            )   DECLARATION IN SUPPORT OF
 12            Debtors.                                     )   MOTION FOR RELIEF FROM THE
                                                            )   AUTOMATIC STAY
 13                                                         )
                                                            )
 14                                                         )

 15

 16             Under penalty of perjury, the undersigned hereby declares as follows:

 17             1.        As to the following facts, I know them to be true of my own personal

 18   knowledge, based upon review of the business records, and if called upon to testify in this

 19   action, I could and would testify competently thereto.

 20             2.        The real property involved in this motion is commonly known as 23622 SE

 21   267th PL, Maple Valley, Washington 98038-5836 (the “Property”). The Property is

 22   encumbered by a Note and Deed of Trust as described herein.

 23             3.               Bankruptcy Asset Manager
                          I am a _________________________________ for SN Servicing Corporation

 24   the servicer for BCMB1 Trust (“Movant”), its successors and/or assignees. I am duly

 25   authorized to make this declaration on behalf of Movant and Loan Servicer.

 26             4.        I am familiar with the manner and procedure by which the records of Loan

 27    Servicer are obtained, prepare, and maintained on behalf of Movant. Those records are

 28    obtained, prepared, and maintained by employees or agents of Loan Servicer in the
      Declaration in Support of Motion for Relief– Page 1                            Ghidotti | Berger LLP
                                                                                     1920 Old Tustin Ave.
                                                                                     Santa Ana, CA 92705
                                                                                       Tele: 949-427-2010
Case 20-10818-TWD            Doc 28        Filed 08/24/20   Ent. 08/24/20 08:30:57     Pg. 5 of 56
  1    performance of their regular business duties at or near the time, act, conditions, or events

  2    recorded thereon. The records are made either by persons with knowledge of the matters they

  3    record or from information obtained by persons with such knowledge. I have knowledge of

  4    and/or access to business records. I personally reviewed the business records related to this

  5    loan prior to executing this declaration.

  6            5.        SN Servicing Corporation receives compensation for its servicing of the loan

  7    under the terms of a written servicing agreement with BCMB1 Trust, and has been responsible

  8    for the handling of all matters relative to the underlying loan prior to the filing of the within

  9    motion, including but not limited to processing of all payments received, crediting of received

 10    payments, adding all proper charges to the loan, confirming the maintenance of hazard

 11    insurance and property taxes, property preservation where appropriate, communicating with

 12    and responding to the borrower on all matters relative to the loan, and the commencement of

 13    non-judicial foreclosure proceedings when appropriate. All activities on the loan advanced by

 14    SN Servicing Corporation were advanced in accordance with the terms of the Note and Deed

 15    of Trust. SN Servicing Corporation’s compensations for its servicing of the loan is reduced by

 16    Debtors’ nonpayment on the loan, resulting in injury to SN Servicing Corporation.

 17            6.        Loan Servicer is authorized and obligated to action on behalf of Movant. Loan

 18   Servicer maintains the financial information for Movant such as payment history, escrow

 19   accounts, tax payment and accounting, property insurance information under the Note and

 20   Deed of Trust. Loan Servicer collects and tracks payments from the Debtors and distributes the

 21   payments received to Movant as part of its duties.

 22            7.        Movant is the holder of the original Promissory Note dated December 20, 2006

 23   in the principal amount of $53,280.00, which is secured by a Deed of Trust encumbering the

 24   Property. The Note has not been subsequently assigned or transferred to any other person or

 25   entity since assignment and transfer to Movant. Movant is entitled to receive payments under

 26   the Note and Deed of Trust.
 27

 28
      Declaration in Support of Motion for Relief– Page 2                            Ghidotti | Berger LLP
                                                                                     1920 Old Tustin Ave.
                                                                                     Santa Ana, CA 92705
                                                                                       Tele: 949-427-2010
Case 20-10818-TWD            Doc 28        Filed 08/24/20   Ent. 08/24/20 08:30:57     Pg. 6 of 56
  1            8.        The following documents evidencing the loan, including the Note and Deed of

  2   Trust, are attached as Exhibits hereto. Attached as Exhibit 1 is an imaged copy of Movant’s

  3   file copy of the Promissory Note.

  4                      a. Exhibit 1 – Creditor’s file copy of the Promissory Note

  5                      b. Exhibit 2 – Copy of Deed of Trust.

  6                      c. Exhibit 3 – Assignment(s) of Deed of Trust

  7                      d. Exhibit 4 – filed Total Debt Proof of Claim

  8            9.        Loan Servicer has access to and maintains records on this loan on behalf of

  9   Movant. Loan Servicer and Movant use the standard practices of the mortgage lender industry.

 10   A payment received is applied to the account and credited to the next due payment. For

 11   example, a payment received in December will be applied to the November payment if no

 12   payment had been received in November.

 13            10.       Loan Servicer’s records on the loan that is the subject of this motion shows that

 14   the loan is post-petition due for April 1, 2020 payment. From April 1, 2020 thereafter, the

 15   monthly payment amount is $438.34.

 16            11.       The principal balance on the loan is $53,266.05 and the approximate total

 17   balance due is $66,337.20.

 18            12.       According to Loan Servicer and Movant’s records, the loan matures on January

 19   1, 2022 and on May 22, 2020 a total debt Proof of Claim was filed in the amount of

 20   $64,835.35. However, Debtor’s filed Chapter 13 Plan omitted the claim and thus Movant’s

 21   total debt claim is not being paid through the confirmed Plan. As of the date of this motion,

 22   Debtors are contractually due for the February 1, 2018 payment.

 23            \\\

 24

 25

 26
 27

 28
      Declaration in Support of Motion for Relief– Page 3                            Ghidotti | Berger LLP
                                                                                     1920 Old Tustin Ave.
                                                                                     Santa Ana, CA 92705
                                                                                       Tele: 949-427-2010
Case 20-10818-TWD            Doc 28        Filed 08/24/20   Ent. 08/24/20 08:30:57     Pg. 7 of 56
  1            I declare under penalty of perjury under the laws of the United States of America that

  2   the foregoing is true and correct.

  3                         August 21, 2020
               Executed on _____________________      Eureka
                                                 at ______________,  CA
                                                                    _______.

  4

  5                                                         ___________________________________

  6
                                                             Angela K. Viale
  7                                                         ____________________________________
                                                            Printed Name
  8

  9                                                          Bankruptcy Asset Manager
                                                            _____________________________________
                                                            Title
 10

 11

 12

 13

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 28
      Declaration in Support of Motion for Relief– Page 4                              Ghidotti | Berger LLP
                                                                                       1920 Old Tustin Ave.
                                                                                       Santa Ana, CA 92705
                                                                                         Tele: 949-427-2010
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 EXHIBIT “1”




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Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 11 of 56
Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 12 of 56
  EXHIBIT “2”




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Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 17 of 56
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Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 19 of 56
Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 20 of 56
Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 21 of 56
  EXHIBIT “3”




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Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 23 of 56
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Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 25 of 56
Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 26 of 56
  EXHIBIT “4”




Case 20-10818-TWD   Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57   Pg. 27 of 56
  Fill in this information to identify the case:

  Debtor 1              Bradley Evan Drummond
                        __________________________________________________________________

  Debtor 2               Angela   Marie Drummond
                         ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________ District
                                          Western District    of __________
                                                           of Washington

  Case number            20-10818
                         ___________________________________________




 Official Form 410
 Proof of Cla im                                                                                                                                                    04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Pa rt 1 :      I de nt ify t he Cla im

1. Who is the current
   creditor?
                                      BCMB1    Trust
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      SN SERVICING CORPORATION
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     323 5TH ST
                                      ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      EUREKA                     CA           95501
                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    800-603-0836
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email     BKNOTICES@SNSC.COM
                                                        ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




   Official Form 410                                                            Proof of Claim                                                             page 1
          Case
           Case20-10818-TWD
                 20-10818-TWD Claim
                                Doc 11-1
                                    28 Filed
                                         Filed08/24/20
                                               05/22/20 Ent.
                                                         Desc08/24/20
                                                               Main Document
                                                                      08:30:57 Pg.
                                                                                Page
                                                                                   28 of
                                                                                      1 of
                                                                                         5624
 Pa rt 2 :   Give I nform a t ion About t he Cla im a s of t he Da t e t he Ca se Wa s File d

6. Do you have any number         No
   you use to identify the       ✔ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____
                                                                                                                            4 ____
                                                                                                                                 4 ____
                                                                                                                                    3 ____
                                                                                                                                        5
   debtor?



7. How much is the claim?                             64,835.35 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             No
                                                                            ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                            
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Money Loaned
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes.
                                          The claim is secured by a lien on property.
                                           Nature of property:
                                           ✔
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          Note & Mortgage
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:                   64,835.35
                                                                                         $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                          64,835.35
                                                                                                                              $____________________
                                                                                                       *FULL BALANCE CLAIM-LOAN MATURES
                                                                                        9.88
                                           Annual Interest Rate (when case was filed) _______%         1/1/2022**
                                           ✔
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Case
            Case
          Form   20-10818-TWD
               410 20-10818-TWD Claim
                                  Doc 11-1
                                      28                       Filed
                                                                Filed08/24/20
                                                                       05/22/20
                                                                   Proof of Claim Ent.
                                                                                   Desc08/24/20
                                                                                         Main Document
                                                                                                08:30:57 Pg.
                                                                                                          Page
                                                                                                             29 of
                                                                                                                2page
                                                                                                                   of
                                                                                                                   56224
12. Is all or part of the claim    q No
    entitled to priority under
    11 U.S.C. § 507(a)?            q Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                  q   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                q   Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                          q   Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                          q   Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                          q   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                          q   Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                q       I am the creditor.
 FRBP 9011(b).                    qI am the creditor’s attorney or authorized agent.
 If you file this claim           qI am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  qI am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                              Executed on date 05/22/2020
                                                   _________________
                                                           MM / DD     /   YYYY




                                     /s/ Nancy Tragarz
                                     ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Nancy Tragarz
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Authorized Agent
                                                         _______________________________________________________________________________________________

                                  Company                Ghidotti Berger, LLP
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                1920  Old Tustin Ave.
                                                         _______________________________________________________________________________________________
                                                         Number             Street

                                                         Santa Ana, CA 92705
                                                         _______________________________________________________________________________________________
                                                         City                                                       State         ZIP Code

                                  Contact phone          (949) 427-2010
                                                         _____________________________                              Email    bknotifications@ghidottiberger.com
                                                                                                                                ____________________________________




 Official Form 410                       Proof of Claim
        Case
         Case20-10818-TWD
               20-10818-TWD Claim
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Mortgage Proof of Claim Attachment"                                                                                                                                                        (12/15)"
If you file a claim secured by a security interest in the debtors principal residence, you must use this form as an attachment to your proof of claim. See separate instructions."

Part 1: Mortgage and Case Information                   Part 2: Total Debt Calculation                  Part 3: Arrearage as of Date of the Petition     Part 4: Monthly Mortgage Payment
                                                                                       53266.05                                                                                    438.34
Case number:                 20-10818
                             ____________________  "    Principal balance:             __________       Principal & interest due:       ____________     Principal & interest:     _____________
Debtor 1:                    Bradley Evan Drummond
                             ____________________       Interest due:                  11569.30
                                                                                       __________       Prepetition fees due:           ____________     Monthly escrow:           _____________"
                                                                                                        Escrow deficiency for funds                      Private mortgage
Debtor 2:                    Angela Marie Drummond
                             ____________________
                                                        Fees, costs due:
                                                                                       __________       advanced:                       ____________     insurance:                _____________"

Last 4 digits to identify:    4 ___
                              ___ 5 ___
                                    3 ___
                                        5               Escrow deficiency for
                                                                                                        Projected escrow shortage:
                                                                                                                                                         Total monthly             PRO RATA
                                                                                                                                                                                   _____________
                                                        funds advanced:                __________                                       ____________     payment:
Creditor:     BCMB1  Trust
               ____________________aaaaaaaa             Less total funds on hand:  __________         Less funds on hand:              ____________
                                                                                       64835.35                                         64835.35
                                                                                                                                                         **FULL BALANCE CLAIM-LOAN
Servicer:                    SN Servicing Corporation
                             ____________________       Total debt:                    __________       Total prepetition arrearage:    ____________
                                                                                                                                                         MATURES 1/1/2022**
Fixed accrual/daily
simple interest/other:       FIXED
                             ____________________

Part 5 : Loan Payment History from First Date of Default

1/1/2018              Account Activity      3/13/2020                                  How Funds Were Applied/Amount Incurred                  Balance After Amount Received or Incurred
A.   B.          C.       D.       E.        F.                         G.             H.          I.         J.       K.         L.        M.          N.       O.              P.        Q.
Date Contractual Funds    Amount Description Contractual                Prin, int &    Amount      Amount     Amount   Amount     Unapplied Principal   Accrued Escrow           Fees /    Unapplied
     payment     received incurred           due date                   esc past due   to          to         to       to fees or funds     balance     interest balance         Charges   funds
     amount                                                             balance        principal   interest   escrow   charges                          balance                  balance   balance




Official Form 410A                  Case
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                                           20-10818-TWD Claim  Mortgage
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                                                                                                               SN Servicing Corporation
                                                                                                                Loan History - General
Loanid: 0000                                   Borrower: DRUMMOND                        Telephone:                                                   SSN: ****
Effective Date Transaction       Due Date      Transaction   Batch Desc    Sub   Batch     Trans. Amt    Principal     Principal        Arrearage /      Interest   Unapplied   Unapplied   Escrow   Escrow      Late   Late Charge   Assistance Amt
               Date                            Description                Code      Id                    Amount        Balance    Forbearance Prin      Amount      Amount      Balance    Amount   Balance   Charge       Balance
                                                                                                                                                                                                                 Amt
      5/7/2020        5/7/2020         2/1/2018 New Loan                     0      0            $.00   $53,266.05   $53,266.05              $0.00          $.00         $.00        $.00     $.00      $.00     $.00          $.00             $.00
                                                             Totals:                             $.00   $53,266.05                                          $.00         $.00                 $.00               $.00                           $.00




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Contains Customer Private Information - handle securely.
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                                      CERTIFICATE OF SERVICE
          On May 22, 2020, I served the foregoing documents described as Proof of Claim on the following
  individuals by electronic means through the Court’s ECF program:
  Jonathan S Smith: jonathan@advantagelegalgroup.com
  United States Trustee: USTPRegion18.SE.ECF@usdoj.gov
  Jason Wilson-Aguilar: courtmail@seattlech13.com

          I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.

                                                           /s/ Lauren Simonton
                                                           Lauren Simonton




           On May 22, 2020, I served the foregoing documents described as Proof of Claim on the following
  individuals by depositing true copies thereof in the United States mail at Santa Ana, California enclosed
  in a sealed envelope, with postage paid, addressed as follows:


   DEBTOR                                               JOINT DEBTOR
   Bradley Evan Drummond                                Angela Marie Drummond
   23622 SE 267th PL                                    23622 SE 267th PL
   Maple Valley, WA 98038                               Maple Valley, WA 98038

          I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.

                                                           /s/ Lauren Simonton
                                                           Lauren Simonton




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   8
                                      UNITED STATES BANKRUPTCY COURT
   9
                       WESTERN DISTRICT OF WASHINGTON - SEATTLE DIVISION
  10

  11
       In Re:                                              )   Case No.: 20-10818-TWD
  12                                                       )
       Bradley Evan Drummond,                              )   CHAPTER 13
  13                                                       )
       Angela Marie Drummond,                              )
  14                                                       )   [PROPOSED]
                Debtors.                                   )   ORDER TERMINATING THE
  15                                                       )   AUTOMATIC STAY
                                                           )
  16                                                       )
                                                           )
  17

  18
                 This matter came before the Court on the Motion for Relief from Automatic Stay filed
  19
       by BCMB1 Trust, its successors and/or assignees (“Creditor”). Based upon the record on file
  20
       and the representations made to the court, IT IS HEREBY ORDERD:
  21
                 1. This Order affects the real property located at 23622 SE 267th PL, Maple Valley,
  22
                     Washington 98038-5836 (the “Property”).
  23
                 2. The automatic stay is terminated as to Movant. Movant may pursue all remedies
  24
                     under state law in connections with the Property and security interest, and may
  25
                     commence or continue any action necessary to obtain complete possession of the
  26
                     Property free and clear of claims of the bankruptcy estate.
  27

  28
       Order Granting Relief from Stay– Page 1                                      Ghidotti | Berger LLP
                                                                                    1920 Old Tustin Ave.
                                                                                    Santa Ana, CA 92705
                                                                                      Tele: 949-427-2010
Case 20-10818-TWD            Doc 28       Filed 08/24/20   Ent. 08/24/20 08:30:57    Pg. 52 of 56
   1            3. The fourteen day stay described in Bankruptcy Rule 4001(a)(3) is waived upon

   2                 relief.

   3            4. Movant, at its option, may offer, provide and enter into any potentioal forbearances

   4                 agreement, loan modification, refinance agreement or other loan workout/;oss

   5                 mitigation agreement as allowed by state law. Movant may contact Debtors via

   6                 telephone or written correspondence to offer such an agreement. Any such

   7                 agreement shall be non-recourse unless included in a reaffirmation agreement.

   8            5. The relief granted herein shall be binding and of full force and effect in any

   9                 conversion of this case to any other chapter. A conversion to another chapter does

  10                 not stay or enjoin the effect of this Order, or prevent Movant from foreclosing and

  11                 selling the Property, and recovering its costs, unless other ordered by this Court.

  12

  13                                             ///END OF ORDER///

  14   Submitted by:

  15   GHIDOTTI | BERGER LLP

  16   /s/ Nancy Tragarz
       Nancy Tragarz, Esq. WSBA #56153
  17
       Counsel for BCMB1 Trust, its successors and/or assignees
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  28
       Order Granting Relief from Stay– Page 2                                       Ghidotti | Berger LLP
                                                                                     1920 Old Tustin Ave.
                                                                                     Santa Ana, CA 92705
                                                                                       Tele: 949-427-2010
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   1                                                         The Honorable Timothy W. Dore
                                                             Chapter 13
   2                                                         Hearing Location: telephonic
                                                             Hearing Date: 9/16/2020
   3                                                         Hearing Time: 9:30 AM
                                                             Response Date: 9/9/2020
   4

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   8                              UNITED STATES BANKRUPTCY COURT

   9                   WESTERN DISTRICT OF WASHINGTON - SEATTLE DIVISION

  10

  11   In Re:                                          )   Case No.: 20-10818-TWD
                                                       )
  12   Bradley Evan Drummond,                          )   CHAPTER 13
                                                       )
       Angela Marie Drummond,                          )
  13                                                   )   NOTICE OF HEARING ON SN
                Debtors.                               )   SERVICING CORPORATION (“LOAN
  14                                                   )   SERVICER”) SERVICER FOR BCMB1
                                                       )   TRUST’S MOTION FOR RELIEF FROM
  15                                                   )   STAY
                                                       )
  16                                                   )
                                                       )
  17                                                   )
                                                       )
  18                                                   )
                                                       )
  19
  20
                                           NOTICE OF HEARING
  21
                 PLEASE TAKE NOTICE THAT SN Servicing Corporation (“Loan Servicer”) servicer
  22
       for BCMB1 Trust, its successors and/or assignees (“Creditor”)’s motion seeking Relief form
  23
       the Automatic Stay (the “Motion”) is SET FOR HEARING AS FOLLOWS:
  24
       Judge: Timothy W. Dore                         Time: 9:30 AM
  25
       Place: telephonic
  26
       Phone number: 1-888-363-4749, access code: 2762430#, security code when prompted: 5334#
  27

  28
       Notice of Motion– Page 1                                           GIHIDOTTI | BERGER LLP
                                                                             1920 Old Tustin Avenue
                                                                               Santa Ana, CA 92705
                                                                                 Tele: 949-427-2010

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   1            IF YOU OPPOSE the Motion, you must file your written response with the Clerk’s

   2   office of the bankruptcy court and deliver copies to the undersigned NOT LATER THAN THE

   3   RESPONSE DATE, which is 9/9/2020. IF NO RESPONSE IS TIMELY FILED AND

   4   SERVED, the Court may, in its discretion, GRANT THE MOTION PRIOR TO THE

   5   HEARING WITHOUT FURTHER NOTICE, and strike the hearing.

   6

   7   Dated: August 24, 2020                Respectfully Submitted,
   8
                                             GHIDOTTI | BERGER LLP
   9
                                             /s/ Nancy Tragarz
  10                                         Nancy Tragarz, Esq. WSBA #56153
                                             Counsel for BCMB1 Trust, its successors and/or
  11                                         assignees
  12

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       Notice of Motion– Page 2                                          GIHIDOTTI | BERGER LLP
                                                                            1920 Old Tustin Avenue
                                                                              Santa Ana, CA 92705
                                                                                Tele: 949-427-2010

Case 20-10818-TWD           Doc 28   Filed 08/24/20   Ent. 08/24/20 08:30:57    Pg. 55 of 56
                                     CERTIFICATE OF SERVICE
              On August 24, 2020, I served the foregoing documents described as Motion for Relief on
     the following individuals by electronic means through the Court’s ECF program:
             COUNSEL FOR DEBTORS
             Jonathan S Smith                  jonathan@advantagelegalgroup.com

             TRUSTEE
             Jason Wilson-Aguilar             courtmail@seattlech13.com

             US TRUSTEE
             US Trustee              USTPRegion18.SE.ECF@usdoj.gov

             I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
                                                              /s/ Brandy Carroll
                                                              Brandy Carroll

              On August 24, 2020, I served the foregoing documents described as Motion for Relief on
     the following individuals by depositing true copies thereof in the United States mail at Santa Ana,
     California enclosed in a sealed envelope, with postage paid, addressed as follows:


      Debtors
      Bradley Evan Drummond
      23622 SE 267th PL
      Maple Valley, WA 98038

      Angela Marie Drummond
      23622 SE 267th PL
      Maple Valley, WA 98038

             I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
                                                              /s/ Brandy Carroll
                                                              Brandy Carroll




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